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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  UNITED STATES OF AMERICA                            §
                                                      §
                                                      § CASE NUMBER 4:21-CR-00125
  v.                                                  §
                                                      §
                                                      §
  ID SIOMMONS MASSIE (2)                              §


                 ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                      REPORT AND FINDING DEFENDANT GUILTY

              The Court referred this matter to the Honorable Christine A. Nowak, United States

       Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal

       Procedure 11. The Magistrate Judge conducted a hearing in the form and manner prescribed

       by Rule 11 and issued Findings of Fact and Recommendation on Guilty Plea. The Magistrate

       Judge recommended that the Court accept Defendant’s guilty plea and adjudge Defendant

       guilty on Count One of the First Superseding Indictment.

              The parties have not objected to the Magistrate Judge’s findings.

              The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea

       of the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers

       acceptance of the plea agreement until after review of the presentence report.

              In accordance with Defendant’s guilty plea, the Court finds Defendant Id Siommons

       Massie GUILTY of Count One of the First Superseding Indictment, charging a violation of

       Title 18 U.S.C. § 371, 922(u), and 2 - Conspiracy to Steal Firearms from a Federally Licensed

       Firearms Dealer; Aiding and Abetting.
              So ORDERED and SIGNED this 3rd            day of November, 2021.



                                                        ___________________________________
                                                        JEREMY D. KERNODLE
                                                        UNITED STATES DISTRICT JUDGE
